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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION

JOSEPH AVOLI,

  Plaintiff,                                      CASE NO.:

-vs

BARCLAYS BANK DELAWARE d/b/a,
BARCLAYCARD,

 Defendant.


                                         COMPLAINT

        1   .   Plaintiff alleges violation of the Telephone Consumer Protection Act, 47 U.S.C.

§227 et seq. (“TCPA”) and the Florida Consumer Collection Practices Act, Fla. Stat. §559.55 et

seq. (“FCCPA”).

                                       INTRODUCTION

       2.       The TCPA was enacted to prevent companies like BARCLAYS BANK

DELAWARE, dlbla BARCLAYCARD, from invading American citizens’ privacy and prevent

abusive “robo-calls.”

       3    .   “The TCPA is designed to protect individual consumers from receiving intrusive

and unwanted telephone calls.” Mims v. Arrow fin. Servs.. LLC, —US--, 132 S.Ct. 740, 745,

181 L.Ed.2d 881 (2012).

       4.       “Senator Hollings, the TCPA’s sponsor, described these calls as ‘the *1256

scourge of modern civilization, they wake us up in the morning; they interrupt our dinner at

night; they force the sick and elderly out of bed; they hound us until we want to rip the telephone

out of the wall.” 137 Cong. Rec. 30, 821 (1991).” Senator Hollings presumably intended to give
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telephone subscribers another option: telling the autodialers to simply stop calling.” Osario v.

State Farm Bank, fS.B., 746 F. 3d 1242 (1 1tli Cir. 2014).

            5.       According to the Federal Communications Commission (FCC), “Unwanted calls

and texts are the number one complaint to the FCC. There are thousands of complaints to the

FCC every month on both telemarketing and robocalls. The FCC received more than 215,000

TCPA complaints in 2014.             “    https://www.fcc.gov/document/fact-sheet-consumer-protection

proposal.

                                         JURISDICTION AND VENUE

        6.           Jurisdiction and venue for purposes ofthis action are appropriate and conferred by

28 U.S.C.        § 1 33 1, Federal Question Jurisdiction, as this action involves violations ofthe TCPA.
        7.           Subject matter jurisdiction, federal question jurisdiction, for purposes of this

action is appropriate and conferred by 2$ U.S.C.           § 1331, which provides that the district courts
shall have original jurisdiction of all civil actions arising under the Constitution, laws or treaties

of the United States; and this action involves violations of 47 U.S.C.           § 227(b)(1)(A)(iii). See
Mims   V.    Arrow fin. Servs., LLC, S.Ct. 740, 748 (2012) and Osorio v. State farm Bank, fS.B.,

746 F.3d 1242, 1249 (1 th Cir. 2014).

        8.           The alleged violations described herein occurred in Pasco County, Florida.

Accordingly, venue is appropriate with this Court under 2$ U.S.C.              § 139l(b)(2), as it is the
judicial district in which a substantial part of the events or omissions giving rise to this action

occurred.

                                         FACTUAL ALLEGATIONS

        9.           Plaintiff is a natural person, and citizen of the State of Florida, residing in

Zephyrhills, Pasco County, Florida.


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          10.         Plaintiffis the “called party.” See Breslow v. Wells Fargo Bank NA., 755 F. 3d
         (1th                                                                          (11th
1265               Cir. 2014) and Osorlo v. State farm Bank, fS.B., 746 f.3d 1242              Cir. 2014).

          11   .      Plaintiff is a “consumer” as defined in Florida Statute   § 559.55(8).
          12.         Defendant is a Corporation and National Association with a principal place of

business at 125 South West Street, Wilmington, DE 19801 and conducting business in the State
                                                                   ,




of Florida.

          13.         The debt that is the subject matter of this complaint is a “consumer debt” as

defined by Florida Statute        § 559.55(6).
          14.         Defendant is a “creditor” as defined in Florida Statute   § 559.55(5).
          15   .      Plaintiff is the regular user and carrier of the cellular telephone number at issue,

(508) ***..$987, and was the called party and recipient of Defendant’s hereinafter described

calls.

          16.         In or about October of 201 5, Plaintiff began receiving calls to his aforementioned

cellular telephone from Defendant seeking to recover an alleged debt.

          17.         Upon receipt of the calls from Defendant, Plaintiffs caller ID identified the calls

were being initiated from, but not limited to, the following phone numbers: (866) 456-0677,

(866) 585-2923, and when that number is called, a pre-recorded message answers “Thank you

for calling Barclaycard customer support. This call may be recorded or monitored. What’s your

account number or social security number?”

          18   .      Upon information and belief, some or all of the calls the Defendant made to

Plaintiffs cellular telephone number were made using an “automatic telephone dialing system”

which has the capacity to store or produce telephone numbers to be called, using a random or

sequential number generator (including but not limited to a predictive dialer) or an artificial or


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prerecorded voice; and to dial such numbers as specified by 47 U.S.C      § 227(a)(1) (hereinafter
“autodialer calls”). Plaintiff will testify that he knew it was an autodialer because of the vast

number of calls he received and because when he answered a call from the Defendant he would

hear an extended pause before a live agent would come on the line, or would hear extended

silence, and nobody would ever pick up the line.

        1 9.    furthermore, each of the calls at issue were placed by the Defendant using a

“prerecorded voice,” as specified by the TCPA, 47 U.S.C.   § 227(b)(1)(A).
       20.      None of Defendant’s telephone calls placed to Plaintiff were for “emergency

purposes” as specified in 47 U.S.C.   § 227(b)(l)(A).
       21   .   Defendant attempted to collect a debt from the Plaintiff by this campaign of

telephone calls.

       22.      On or about October of 201 5, Plaintiff answered a call from the Defendant, met

with an extended pause, held the line to be connected to a live person, and was eventually

connected to a live agent/representative of Defendant, at which point he informed Defendant that

they had his address, and demanded that the Defendant cease placing calls to his aforementioned

cellular telephone number.

       23   .   During the aforementioned phone conversation in or about October of 20 1 5 with

Defendant’s agent/representative, Plaintiff expressly revoked any express consent Defendant

may have had for placement of telephone calls to Plaintiffs aforementioned cellular telephone

number by the use of an automatic telephone dialing system or a pre-recorded or artificial voice.

       24.      Each subsequent call the Defendant made to the Plaintiffs aforementioned

cellular telephone number was done so without the “express permission” ofthe Plaintiff.




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       25.      Each subsequent call the Defendant made to the Plaintiffs aforementioned

cellular telephone number was knowing and willful.

       26.      Additionally, on or about March 3 1 2016, due to the ceaseless barrage of calls he
                                                     ,




was receiving from Defendant, Plaintiff answered a call from the Defendant, met with an

extended pause, held the line to be connected to a live person, was eventually connected to a live

agent/representative of Defendant, and again demanded that Defendant cease placing calls to his

aforementioned cellular telephone number, to which the agent/representative of the Defendant

responded that she was not able to terminate the calls.

       27.      Despite actual knowledge of their wrongdoing, the Defendant continued the

campaign of abuse, calling the Plaintiff despite not having his express permission to call his

aforementioned cellular telephone number.

       28.      On at least three (3) separate occasions, Plaintiff has either answered a call from

or returned a call to the Defendant, held the line to be connected to a live representative, and

demanded that Defendant cease placing calls to his aforementioned cellular telephone number.

       29.      The Plaintiffs requests for the harassment to end were ignored.

       3 0.     From about December of 2015 through the filing of this Complaint, Defendant

has placed approximately five-hundred (500) calls to Plaintiffs aforementioned cellular

telephone number. (Please see attached Exhibit “A” representing a non-exclusive call log of

forty-seven (47) calls in a two week period from April 1, 2016 through April 1 5, 2016).

       31   .   Defendant intentionally harassed and abused Plaintiff on numerous occasions by

calling several times in the same hour, during one day, and on back to back days, with such

frequency as can reasonably be expected to harass.




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        32.       Defendant has a corporate policy to use an automatic telephone dialing system or

a pre-recorded or artificial voice, just as they did to the Plaintiffs cellular telephone in this case,

with no way for the consumer, or Defendant, to remove the number.

        33.       Defendant’s corporate policy and procedures are structured as to continue to call

individuals like the Plaintiff, despite these individuals revoking any consent the Defendant may

have believed they had.

        34.       Defendant’s corporate policy is structured as to continue to call individuals like

the Plaintiff, despite these individuals demanding that the Defendant stop calling them.

        35.       Defendant has numerous other federal lawsuits pending against them alleging

similar violations as stated in this complaint.

        36.       Defendant violated the TCPA with respect to the Plaintiff.

        37.       Defendant willfully and/or knowingly violated the TCPA with respect to the

Plaintiff.

                                              COUNT I
                                       (Violation of the TCPA)

        38    .   Plaintiff incorporates Paragraphs one (1) through thirty-seven (37) above as if

fully stated herein.

        39.       Defendant willfully violated the TCPA with respect to Plaintiff, specifically for

each of the auto-dialer calls made to Plaintiffs cellular telephone afier Plaintiff notified

Defendant that Plaintiff did not wish to receive any telephone communication from Defendant,

and wished for the calls to stop.

        40.       Defendant repeatedly placed non-emergency telephone calls to Plaintiffs cellular

telephone using an automatic telephone dialing system or prerecorded or artificial voice without



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Plaintiffs prior express consent in violation of federal law, including 47 U.S.C                  §
227(b)(l )(A)(iii).

        WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so triable and

judgment against Defendant for statutory damages, treble damages, punitive damages, actual

damages and any other such reliefthe court may deem just and proper.

                                            COUNT II
                                    (Violation of the FCCPA)

        41.     Plaintiff incorporates Paragraphs one (1) through thirty-seven (37) above as if

fully stated herein.

        42.     At all times relevant to this action, Defendant is subject to and must abide by the

law offlorida, including Florida Statute   § 559.72.
        43.     Defendant has violated Florida Statute   § 559.72(7) by willfully communicating
with the debtor or any member of her or his family with such frequency as can reasonably be

expected to harass the debtor or her or his family.

        44.     Defendant has violated Florida Statute    § 559.72(7) by willfully engaging in
conduct which can reasonably be expected to abuse or harass the debtor or any member of her or

his family.

        45.     Defendant’s actions have directly and proximately resulted in Plaintiffs prior and

continuous sustaining of damages as described by Florida Statute   § 559.77.
        WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so triable and

judgment against Defendant for statutory damages, punitive damages, actual damages, costs,

interest, attorney fees, enjoinder from further violations of these parts and any other such relief

the court may deem just and proper.



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                                 Respectfully Submitted,

                                  s/Shaughn C. Hill
                                  Shaughn C, Hill, Esquire
                                  fLBar#: 105998
                                  Morgan & Morgan, Tampa, P.A.
                                  20 1 N. Franklin Street, 7th floor
                                  Tampa, FL 33602
                                  Tele: (813) 223-5505
                                  SHill@ForThePeople.com
                                  LCrouchForThePeople.com




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               Phone Call Log for (508) ***.$9$7


                 Date                  Time                 Caller
    1          04/01/2016             10 19 am           (866) 585-2923
    2.         04/01/2016             10:39am            (866)525-2923
    3          04/01/2016             04 18 pm           (866) 585-2923
    4.         04/01/2016             05:25pm            (866)585-2923
    5.         04/02/2016             12:24pm            (866)585-2923
    6          04/02/2016             03 40 pm           (866) 585-2923
    7.         04/02/2016             03:21 pm           (866) 585-2923
    8          04/02/2016             0445pm             (866)585-2923
    9.         04/04/2016             11:17am            (866)585-2923
    10         04/04/2016             01 54pm            (866)585-2923
    11         04/04/2016             04 47 pm           (866) 585-2923
    12         04/04/2016             05 49 pm           (866) 585-2923
    13         04/04/2016             06 55 pm           (866) 585-2923
    14         04/04/20 1 6           1 1 28 pm          (866) 585-2923
    15.        04/05/2016             1 1:29 am          (866) 585-2923
    16.        04/05/2016             05:4Opm            (866)585-2923
    17.        04/05/2016             07:l6pm            (866)585-2923
    18.        04/06/2016             10:52 am           (866) 585-2923
    19.        04/06/2016             05:29pm            (866)585-2923
    20         04/06/2016             0726pm             (866)585-2923
    21.        04/07/2016             11:09am            (266)585-2923
    22.        04/07/2016             05:35 pm           (866) 585-2923
    23.        04/07/2016             06:56pm            (866)585-2923
    24.        04/08/2016             10:23 am           (866) 585-2923
    25         04/08/2016             04 58 pm           (866) 585-2923
    26.        04/08/2016             06:46pm            (866)585-2923
    27         04/09/2016             11 58am            (866)585-2923
    28.        04/09/2016             04:19 pm           (866) 585-2923
    29.        04/09/2016             05:25pm            (866)585-2923
    30.        04/11/2016             06:54pm            (866)585-2923
:
    31.        04/11/2016             07:56pm            (266)585-2923
    32.        04/12/2016             12:14pm            (866)585-2923
    33.        04/12/2016             05:36pm            (866)585-2923
    34.        04/12/2016             07:O8pm            (866)585-2923
    35.        04/13/2016             10:58am            (866)585-2923
    36.        04/13/2016             07:O2pm            (866)585-2923
    37.        04/13/2016             08:OSpm            (866)585-2923
    38.        04/14/2016             09:07 am           (866) 585-2923
    39.        04/14/2016             05:12pm            (866)585-2923
    40         04/14/2016             0730pm             (866)585-2923



                                                            EXHIBIT”A”
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                Phone Call Log for (508) ***8987


  41.           04/15/2016             12:16pm            (866)525-2923
  42.           04/15/2016             05:31 pm           (866) 585-2923
  43,           04/15/2016             07:25 pm           (866) 585-2923
  44.           04/15/2016             07:53pm            (866)585-2923
  45.           04/15/2016             03:01 pm           (866) 585-2923
  46.           04/15/2016             05:24pm            (866)585-2923
  47            04/15/2016             06 31 pm           (866) 585-2923




                                                             EXHIBIT”A”
